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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                      CASE NO.: 9:20-cv-81307

   AFFORDABLE AERIAL PHOTOGRAPHY,
   INC.,

                  Plaintiff,

   v.

   PALM BEACH REAL ESTATE, INC. AND
   TARA EDEN PEARL,

                  Defendants.



                               DECLARATION OF ROBERT STEVENS

          I, Robert Stevens state the following:

          1.      I am over the age of 18 and otherwise competent to testify. I make the following

   statements based on personal knowledge.

          2.      I reside in West Palm Beach, Florida. I am an experienced professional

   photographer and make a living from photography. Through AAP, I provide high-end real estate

   photography services to real estate brokers and agents in South Florida.

          3.      I am AAP’s principal photographer and its founder. My work is sought after by

   real estate professionals throughout South Florida. For the past eight years, I have photographed

   some of the most expensive real estate listings in U.S. history, including Donald Trump’s mega-

   mansion in Palm Beach listed for $125 million. From Palm Beach to California, the Bahamas

   and New York, I have been contracted to photograph the estates of Madonna, Celine Dion, Don




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   King, Greg Norman, Rod Stewart, Ivana Trump, James Patterson, Alexander Haig, Ann

   Downey, Frank McKinney, Bill Gates, Tommy Lee Jones, Bryant Gumble and Chris Evert.

          4.     The techniques that I use are difficult to execute effectively. My photos are made

   using special aerial photography capture techniques that employ drones or other technology to

   capture photographs from angles that would not otherwise be possible.

          5.     I created three photographs entitled “Palm Beach Island Sunrise 2011 AAP, Nov.

   22, 2011” (“Sunrise Work”), “3813 N Ocean Blvd low aerial 2016 AAP” (“3813 N Ocean

   Work”), and “Palm Beach Biltmore Aerial C 2011 AAP, Jun. 11, 2011” (“Biltmore Work”)

   which are shown below and referred to herein as the “Works.”




          Palm Beach Island Sunrise 2011 AAP, Nov. 22, 2011




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         3813 N Ocean Blvd low aerial 2016 AAP




         Palm Beach Biltmore Aerial C 2011 AAP, Jun. 11, 2011
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          6.      I registered the Works with the Register of Copyrights on September 16, 2015,

   June 21, 2018, and July 9, 2015 and was assigned the registration number VA 1-970-038, VA 2-

   107-890, and VA 2-092-956, respectively. The certificates of Registration are attached hereto as

   Exhibit 1.

          7.      AAP own all rights, title, and interest, including copyrights, in and to the Works

   by nature of both written assignment by me to AAP and by nature of the fact that the Works

   were works for hire taken on behalf of AAP.

          8.      Significant technical attributes were required to make the Works including;

   monitoring the environment with regard to atmospheric conditions, cloud cover, wind speed,

   wind direction, and precipitation; extensive image location scouting to identify potential photo

   locations, angles, elevations, accessibility, and security issues; obtaining authorizations to secure

   access to private property; and using advanced photo exposure control, both in-camera and via

   post-production software, to ensure a common brightness, contract, clarity, color temperature,

   color saturation, color tonality, and image noise reduction.

          9.      The Works are scarce not only due to their high quality but also the unique

   techniques applied to achieve such amazing results.

          10.     The typical range of fees I receive for creating and licensing the right to make

   non-exclusive commercial use (meaning use for purposes of advertising or promoting the

   licensee’s business) and displaying on the internet of one of my copyrighted photographs similar

   in quality and popularity to the Works is approximately $1,000, per year, per photograph.

          11.     It is my understanding that Tara Eden Pearl (“Pearl”) is an individual who owns

   the licensed real estate corporation Palm Beach Real Estate, Inc. (PBRE) (collectively

   “Defendants”), and is the broker for PBRE. At all times relevant herein, PBRE owned and


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   operated the website at the URL www.palmbeachrealestateinc.com (the “Website”). The

   Website advertises that it specializes in luxury oceanfront and lakefront homes from Vero Beach

   to Miami.

          12.     On or about July 2018 and March 2017, Defendants copied the Works without my

   permission and used them to advertise and promote the sale of goods and services as part of its

   real estate business. Defendants’ infringements are attached hereto as Exhibit 2.

          13.     Defendants have never been licensed to use the Works for any purpose.

          14.     After Defendants copied the Works, they made further copies and distributed the

   Works on the internet to promote the sale of its goods and services.

          15.     Through my counsel I notified Defendnats of the allegations set forth herein on

   July 22, 2019 and October 2, 2019. To date, Defendants have failed to respond to Plaintiff’s

   Notices.

          16.     Had Defendants hired AAP to create and license the Works and to reproduce and

   display the Works on its website, I would have charged at least $1,000 per year to use the

   photograph.

          17.     The ability of the Defendants to reproduce, modify, distribute and display the

   copyrighted Work for its own commercial benefit without compensation to me greatly impairs

   the market value of the Work since others competing with that business, or in related business

   areas, will not want to obtain а license to my Work if they are already associated with а

   competing business. Similarly, potential licensees of my copyrighted photographs will not want

   to pay my license fees if they see other commercial enterprises taking and using my photographs

   for its own commercial purposes without paying any fee at all.




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          18.     The Works have lost significant value to their scarcity by the widespread and

   continuing dissemination resulting from Svanstedt’s infringement.

          19.     I believe my damages to be $18,000 per year after considering a scarcity

   multiplier of 6 to the licensing fee of $1,000 per image, per year.

          20.     When I publish my works, including those at issue here I include Copyright

   Management Information (“CMI”) in the form of a copyright notice, which consists of the ©

   copyright symbol, the year the image was published, and AAP’s name in the lower right or left

   hand corner of the images.

          21.     In addition to reproducing and displaying my photographs without permission,

   Defendants removed my copyright notice in an attempt to cover up their infringement and

   facilitate others to commit further infringements.

          22.     The removal of my copyright management information eliminated my right and

   ability to control the use and transmission of the Works and made it vulnerable to becoming an

   orphan work.

          23.     The removal of my copyright management information interfered with my actual

   and prospective relationships with clients who might otherwise compensate me for the licensed

   use of the Works.

          24.     The removal of my copyright management information prevents me from granting

   any broadly exclusive license in the Work to a third party, and even in the event that a third party

   does not require an exclusive license, few such clients would consider licensing my image for

   use in connection with services similar to those provided by the defendant.

          I swear of affirm the foregoing is true and correct under penalties of perjury.

   DATED: October 15, 2020


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                                           Robert Stevens




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